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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

VERONICA RAMIREZ,

        Plaintiff,

v.                                                                                No. 20-cv-0824 MV/SMV

JOSEPH J. MARTINEZ,
EBETH CRUZ-MARTINEZ,
MARIANNA VIGIL, and
ROBERT GONZALES,

        Defendants.

                             MEMORANDUM OPINION AND ORDER

        THIS MATTER is before me on Plaintiff’s Motion to Compel Discovery (the “Motion to

Compel”), filed on April 7, 2022. [Doc. 95]. Defendant Gonzales responded on April 21, 2022

[Doc. 96], and Plaintiff replied on April 29, 2022. [Doc. 98]. Having considered the parties’

submissions, the record, and the relevant law, I will deny Plaintiff’s Motion to Compel as untimely

under D.N.M.LR-Civ. 26.6, which provides that a party served with objections to discovery

requests must file a motion to compel under Fed. R. Civ. P. 37 “within twenty-one (21) days of

service of an objection.”1

        Gonzales objected to Plaintiff’s discovery requests on November 15, 2021. [Doc. 95] at 1.

Between December 10, 2021, and January 3, 2022, the parties attempted unsuccessfully to resolve

Gonzales’s objections. Id.; [Doc. 96-9]; see Fed. R. Civ. P. 37(a)(1). Plaintiff received a transcript

of Gonzales’s deposition on February 7, 2022. Id. Plaintiff filed the Motion to Compel two months


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 At the scheduling conference held on August 12, 2021, I warned counsel of the ramifications of missing the
D.N.M.LR-Civ.26.6 deadline. [Doc. 52].
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later, on April 7, 2022. [Doc. 95]. Nearly five months elapsed between Gonzales’s objections to

Plaintiff’s requests and the Motion to Compel.

        “For good cause, the Court may, sua sponte or on motion by a party, change the twenty-one

(21) day period.” D.N.M.LR-Civ. 26.6. Plaintiff argues there is good cause for an extension of the

deadline because (1) the parties attempted to resolve the dispute in good faith between November

15, 2021, and January 3, 2022, and (2) she did not receive the transcript of Gonzales’s deposition

until February 7, 2022. However, even if good cause has been shown as to the period between

November 15, 2021, and February 7, 2022, Plaintiff does not explain the 59-day delay between

receipt of the deposition transcript and filing of the Motion to Compel. Hence, there is no good

cause to extend the Local Rule 26.6 deadline and Plaintiff’s Motion to Compel was not

substantially justified.

        IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Plaintiff’s

Motion to Compel Discovery [Doc. 95] is DENIED.

        IT IS FURTHER ORDERED that, pursuant to Fed. R. Civ. P. 37(a)(5)(B), Plaintiff shall

pay Gonzales’s reasonable expenses, including attorneys’ fees and costs, incurred in opposing the

Motion to Compel. The Court DIRECTS the parties to confer and attempt to reach agreement as

to payment of Gonzales’s expenses. If the parties cannot agree on these expenses, Gonzales shall

submit to the Court an application for expenses no later than July 18, 2022, and Plaintiff may

respond within 10 days of the filing of such application.

        IT IS SO ORDERED.

                                                        ______________________________
                                                        STEPHAN M. VIDMAR
                                                        United States Magistrate Judge



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